      Dated: 10/1/2018




                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
 In Re:
 Stephen Ray Shoemake                                             BK:     18-01283-RM1-13
 Diann Mitchell Shoemake AKA Dianne Mitchell Cox;
 AKA Dianne Mitchell McCarley; AKA Dianne Mitchell
 Cole; AKA Dianne Mitchell; AKA Dianne Mitchell Odom
 Debtors

                        ORDER RESOLVING DEBTOR’S
                MOTION FOR DETERMINATION UNDER RULE 3002.1

       This matter came to be heard by this Court on September 21, 2018 upon the Debtor’s Motion

for Determination under Rule 3002.1. The Court found that the fees contained in the Notice of Post

Petition Fees (ECF No. 74) should be denied in part and allowed in part.

       IT IS, THEREFORE, ORDERED:

       1.      SN Servicing sought to collect $2,081.00 in its Notice of Post Petition Fees (ECF No.

               74) for attorney’s fees.

       2.      SN Servicing shall be permitted to collect $1,531.00 for attorney’s fees incurred on

               March 14, 2018 and March 27, 2018 for attorney’s fees.

       3.      The attorney’s fees in the amount of $550.00 for attorney’s fees incurred on April 24,

               2018 for Bankruptcy/Proof of Claim fees are disallowed. SN Servicing is forever

               prohibited from collecting these fees from the Debtors.



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APPROVED FOR ENTRY:

/s/ Keith D. Slocum
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                                                         This Order has been electronically
                                                         signed. The Judge's signature and
                                                         Court's seal appear at the top of the
                                                         first page.
                                                         United States Bankruptcy Court.

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